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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

    Murray Dines, d/b/a Terpene
    Distribution,

                         Plaintiff,
                                                       Case No. 2:22-CV-02248-
    v.                                                 KHV-GEB

    Laura Kelly, in her official capacity as
    Governor of the State of Kansas, and
    Derek Schmidt, in his official capacity
    as Attorney General of the State of
    Kansas,

                         Defendants.




               Memorandum in Support of Motion to Dismiss or Stay

                                      Nature of Case

          This is a 42 U.S.C. § 1983 case. Dkt. Doc. 7 (“Am Cmplt”), ¶ 12.

Plaintiff Murray Dines plans to sell “hemp products”1 that he purchases from

Colorado at his retail store in Lawrence, Kansas (previously located in




1
 Defendants understand that these are allegedly hemp derived CBDs, i.e.,
Cannabis-Derived Products.

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Topeka). Id. at ¶¶ 4, 5, 13, 14. Some of these products, he says, contain

Delta-8 tetrahydrocannabinol, aka, Delta-8 THC.2 Id. at ¶ 13.

      Plaintiff alleges his “hemp products” meet the definition in the federal

Agriculture Improvement Act of 2018 (“2018 Farm Bill”), 132 Stat. 4905, §

10113, Subtitle G. Am Cmplt, ¶¶ 36-37. In particular, the act provides:

      In this subtitle:

      (1) HEMP.—The term ‘hemp’ means the plant Cannabis sativa L.
      and any part of that plant, including the seeds thereof and all
      derivatives, extracts, cannabinoids, isomers, acids, salts, and
      salts of isomers, whether growing or not, with a delta-9
      tetrahydrocannabinol [“Delta-9 THC”] concentration of not more
      than 0.3 percent on a dry weight basis.

7 U.S.C. § 1639o.

      In April of 2022, some of Plaintiff’s products, at his former Topeka

store, were seized by Shawnee County Sheriff and Topeka Police

Department law enforcement under a search warrant. Am Cmplt, ¶¶ 57-61.

Plaintiff alleges the products contained less than 0.3 percent Delta-9 THC,




2
 Plaintiff believes that he has found a loophole from federal law, which
permits him to sell psychoactive drugs, because a federal definition of
“hemp” mentions Delta-9 THC concentrations, but not Delta-8 THC. An FDA
publication explains: “Delta-8 THC has psychoactive and intoxicating
effects, similar to delta-9 THC (i.e., the component responsible for the ‘high’
people may experience from using cannabis).” 5 Things to Know about
Delta-8 Tetrahydrocannabinol – Delta-8 THC at
https://www.fda.gov/consumers/consumer-updates/5-things-know-about-
delta-8-tetrahydrocannabinol-delta-8-thc (last visited July 7, 2022).
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but law enforcement claimed they were unlawful schedule I drugs because

of their Delta-8 THC content.3 Id. at ¶¶ 62-63.


3
 The possession and sale of controlled substances are prohibited by Article
57 of Chapter 21 of the Kansas statutes. In Kansas, controlled substances
include:

      (h) Any of the following cannabinoids, their salts, isomers and
      salts of isomers, unless specifically excepted, whenever the
      existence of these salts, isomers and salts of isomers is
      possible within the specific chemical designation:

      (1) Tetrahydrocannabinols — 7370
      Meaning tetrahydrocannabinols naturally contained in a plant of
      the genus Cannabis (cannabis plant), as well as synthetic
      equivalents of the substances contained in the plant, or in the
      resinous extractives of Cannabis, sp. and/or synthetic
      substances, derivatives, and their isomers with similar chemical
      structure and pharmacological activity such as the following:

      Delta 1 cis or trans tetrahydrocannabinol, and their optical
      isomers Delta 6 cis or trans tetrahydrocannabinol, and their
      optical isomers Delta 3,4 cis or trans tetrahydrocannabinol, and
      its optical isomers (Since nomenclature of these substances is
      not internationally standardized, compounds of these
      structures, regardless of numerical designation of atomic
      positions covered.), except tetrahydrocannabinols in any of the
      following:

      (A) Industrial hemp, as defined in K.S.A. 2021 Supp. 2-3901,
      and amendments thereto;

      (B) solid waste, as defined in K.S.A. 65-3402, and amendments
      thereto, and hazardous waste, as defined in K.S.A. 65-3430,
      and amendments thereto, if such waste is the result of the
      cultivation, production or processing of industrial hemp, as
      defined in K.S.A. 2021 Supp. 2-3901, and amendments thereto,
      and such waste contains a delta-9 tetrahydrocannabinol
      [continued next page]
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        Plaintiff seeks injunctive and declaratory relief. Am Cmplt, wherefore

clause at p. 16. He claims that Kansas law enforcement threatens his

prosecution for possession, distribution or sale of his products based on the

AG’s “faulty” interpretation of the referenced Kansas statutes.4 Id. at ¶¶ 47-

53. He asserts that, if the AG’s interpretation is correct, the Kansas statutes

that criminalize possession, distribution or sale of his products with Delta-8

THC are preempted by the 2018 Farm Bill under the Supremacy Clause of

the United States Constitution. Id. at ¶¶ 65-69.

        Plaintiff’s lawsuit should be dismissed for failure to state a claim. The

Supremacy Clause is not the source of any federal rights and does not

create a cause of action. And there is no cause of action to support a 42

U.S.A. § 1983 claim in the 2018 Farm Bill. But, even if a plausible claim has




        concentration of not more than 0.3%; or

        (C) hemp products, as defined in K.S.A. 2021 Supp. 2-3901,
        and amendments thereto, unless otherwise deemed unlawful
        pursuant to K.S.A. 2021 Supp. 2-3908, and amendments
        thereto.

K.S.A. 2021 Supp. § 65-4105(h)(1). See also K.S.A. 2021 Supp. § 21-
5701(a) (applying the “controlled substances” definitions in Article 41 of
Chapter 65 to “crimes involving controlled substances in Article 57 of
Chapter 21).
4
    See Kan. Atty. Gen. Op. No. 2021-4, 2021 WL 6013969.
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been stated, the action should be stayed under the Pullman abstention

doctrine.

                                  Argument

      1.    Dismissal is proper under Fed. R. Civ. P. Rule 12(b)(6) because
            Plaintiff had failed to state a claim upon which relief can be
            granted.
      There are two overarching elements of a § 1983 claim. The plaintiff

must allege and ultimately prove both (1) a deprivation of a federal right,

and (2) that the person who deprived the plaintiff of that right acted under

color of state law. West v. Atkins, 487 U.S. 42, 49 (1988).

      [T]he Supremacy Clause is not the “‘source of any federal
      rights,’” Golden State Transit Corp. v. Los Angeles, 493 U.S.
      103, 107 [ ] (1989) (quoting Chapman v. Houston Welfare
      Rights Organization, 441 U.S. 600, 613 [ ] (1979)), and certainly
      does not create a cause of action.

Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 324–25 (2015).

Accordingly, the Supremacy Clause is not a federal right that may support a

§ 1983 claim. E.g., Safe Streets All. v. Hickenlooper, 859 F.3d 865, 900-

906 (10th Cir. 2017) (finding no cause of action for injunction or declaratory

judgment based on Supremacy Clause or in equity without an underlying




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substantive federal right).5

      Furthermore, the 2018 Farm Bill is not a source of a private federal

right that may support a § 1983 claim. “[Section] 1983 does not provide an

avenue for relief every time a state actor violates a federal law.” Vega v.

Tekoh, No. 21-499, 2022 WL 2251304, at *9, n. 6 (U.S. June 23, 2022)

(quoting Rancho Palos Verdes v. Abrams, 544 U.S. 113, 119 (2005)). For

the federal statutes, “to seek redress through § 1983, a plaintiff must assert

the violation of a federal right, not merely a violation of federal law.”

Blessing v. Freestone, 520 U.S. 329, 340 (1997) (emphasis original). See

also Gonzaga Univ. v. Doe, 536 U.S. 273, 283 (2002) (“[W]hether a

statutory violation may be enforced through § 1983 is a different inquiry

than that involved in determining whether a private right of action can be

implied from a particular statute ... [b]ut the inquiries overlap in one

meaningful respect-in either case [the court] must first determine whether

Congress intended to create a federal right.”); Hobbs ex rel. Hobbs v.

Zenderman, 579 F.3d 1171, 1179 (10th Cir. 2009) (same).


5
 The Tenth Circuit’s decision in Hickenlooper conclusively establishes
dismissal is required as to Count I (federal preemption) and as to Counts II
and III (injunctive relief and declaratory judgment, respectively), of the
Amended Complaint, if read literally. However, defendants assume that the
pleading’s references to the 2018 Farm Bill are intended to assert a
violation of that federal law supports Plaintiff’s claims for equitable relief
under § 1983.
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      In making this determination, a plaintiff asserting such a right must

identify the claimed statutory right with particularity, Blessing, 520 U.S. at

340-41; Johnson v. Domestic Rels. Sec., No. 18-1294, 2019 WL 1915563,

at *3 (D. Kan. Apr. 30, 2019), and the Court should examine the following

three factors:

      First, Congress must have intended that the provision in
      question benefit the plaintiff. Second, the plaintiff must
      demonstrate that the right assertedly protected by the statute is
      not so vague and amorphous that its enforcement would strain
      judicial competence. Third, the statute must unambiguously
      impose a binding obligation on the States. In other words, the
      provision giving rise to the asserted right must be couched in
      mandatory, rather than precatory, terms.

Hobbs, at 1179 (quoting Bless, but quotations marks omitted). “A statute

embodies congressional intent to benefit the plaintiff only if it is phrased in

terms of the person benefited.” Id. (quotation omitted).

      Some courts had interpreted the first factor as allowing plaintiffs to

enforce a statute under §1983 so long as the plaintiff fell within the general

zone of interest that the statute intended to protect; which is something less

than what is required for a statute to create rights enforceable directly from

the statute itself under an implied right of action. Gonzaga University v.

Doe, 536 U.S. 273, 283 (2002). But the Supreme Court rejected the notion

that Blessing “permit[s] anything short of an unambiguously conferred right

to support a cause of action brought under § 1983.” Specifically, Gonzaga

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stated that for a statute to confer a private right of action, the statutory

language must be “‘phrased in terms of the persons benefited.’” Id. at 284.

      Federal law defines marijuana as “all parts of the plant Cannabis

sativa L., whether growing or not; the seeds thereof; the resin extracted

from any part of such plant; and every compound, manufacture, salt,

derivative, mixture, or preparation of such plant, its seeds or resin.” 21

U.S.C. § 802(16)(A). Hemp or industrial hemp is defined as “the plant

Cannabis sativa L. and any part of that plant, including the seeds thereof

and all derivatives, extracts, cannabinoids, isomers, acids, salts, and salts

of isomers, whether growing or not, with a delta-9 tetrahydrocannabinol

[(‘THC’)] concentration of not more than 0.3 percent on a dry weight basis.”

7 U.S.C. §§ 1639o(1), 5940(a)(2); see 21 U.S.C. § 802(16)(B)(i). Marijuana

and any part of the plant Cannabis sativa L. with a THC concentration

above 0.3 percent are Schedule I controlled substances. 21 U.S.C. § 812,

Schedule I, (c)(10), (17).

      In 2014, the Agricultural Act of 2014 (“2014 Farm Bill”) was signed

into law and contained a provision entitled “Legitimacy of Industrial Hemp

Research.” See Pub Law 113-79, 128 Stat. 912, § 7606 (Feb. 7, 2014)

(codified at 7 U.S.C. § 5940). According to a “Statement of Principles”

published jointly in the Federal Register by the U.S. Department of


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Agriculture, the Drug Enforcement Administration, and the Food and Drug

Administration, that provision of the 2014 Farm Bill:

      legalized the growing and cultivating of industrial hemp for
      research purposes in States where such growth and cultivation
      is legal under State law, notwithstanding existing Federal
      statutes that would otherwise criminalize such conduct. The
      statutorily sanctioned conduct, however, was limited to growth
      and cultivation by an institution of higher education or State
      department of agriculture for purposes of agricultural or other
      academic research or under the auspices of a State agricultural
      pilot program for the growth, cultivation, or marketing of
      industrial hemp.

      Section 7606 authorized State departments of agriculture to
      promulgate regulations to carry out these pilot programs but did
      not provide a specific delegation to the U.S. Department of
      Agriculture (USDA) or any other agency to implement the
      program. As well, the statute left open many questions
      regarding the continuing application of Federal drug control
      statutes to the growth, cultivation, manufacture, and distribution
      of industrial hemp products, as well as the extent to which
      growth by private parties and sale of industrial hemp products
      are permissible. Section 7606 did not remove industrial hemp
      from the controlled substances list. Therefore, Federal law
      continues to restrict hemp-related activities, to the extent that
      those activities have not been legalized under section 7606.

81 Fed. Reg. 53,395 (Aug. 12, 2016).6



6
 More specifically, the 2014 Farm Bill permitted an “institution of higher
education” or a “State department of agriculture” to “grow or cultivate
industrial hemp if”: (1) the industrial hemp is grown or cultivated for
purposes of research conducted under an agricultural pilot program or other
agricultural or academic research; and (2) the growing or cultivating of
industrial hemp is allowed under the laws of the State in which such
institution of higher education or State department of agriculture is located
and such research occurs. 7 U.S.C § 5940(b).
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      Subsequently, the 2018 Farm Bill was signed into law, which, in part,

amended the Controlled Substances Act to remove hemp and hemp-

derived products from the definition of marijuana. Pub. Law 115–334, Title

X, § 12619 (Dec. 20, 2018); see also 7 U.S.C. § 1639o(1); 21 U.S.C. §

802(16)(B)(i). The law requires the USDA to promulgate regulations and

guidelines to administer a program for hemp production. Hemp production

may be administered directly by the USDA or by a state or Indian tribe that

has a USDA-approved plan. 7 U.S.C. §§ 1639p, 1639q. When a state does

not have a USDA-approved plan to regulate the production of hemp, “it

shall be unlawful to produce hemp in that State ... without a license issued

by the Secretary [of the USDA] under subsection (b) [of § 1639q].” 7 U.S.C.

§ 1639q(c)(1). State approved plans may include more “stringent”

regulations than those set out in federal regulations. See 7 U.S.C.A. §

1639p (“Nothing in this subsection preempts or limits any law of a State or

Indian tribe that--(i) regulates the production of hemp; and (ii) is more

stringent than this subchapter”).

      However, while Plaintiff does not identify the specific federal provision

that he claims is violated, there is no directive in the 2018 Farm Bill that




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unambiguously confers a private right to individuals.7 To the contrary, the

Bill’s provisions describe the powers and methods reserved to the

Secretary for enforcement and regulation of state, Indian, or Department of

Agriculture plans for production of hemp. Such a delegation of authority is

evidence that no private right of action was intended. Freier v. Colorado,

804 F. App'x 890, 891–92 (10th Cir. 2020) (unpublished) (“Those courts

have reasoned that Congress, by delegating enforcement authority to the

Secretary of Health and Human Services, did not intend for HIPAA to

include or create a private remedy”) (citation omitted).

      An enforceable private right exists only if the statute contains nothing

“short of an unambiguously conferred right” and not merely a vague benefit

or interest. Gonzaga Univ., 536 U.S. at 283 (statutory provisions relied on

by Plaintiff “fail to confer enforceable rights” under § 1983 because they

“entirely lack the sort of ‘rights-creating’ language critical to showing the

requisite congressional intent to create new rights,” id. at 287). No

enforceable right exists “where a statute by its terms grants no private

rights to any identifiable class.” Id. at 283–84. “Accordingly, it is rights, not

the broader or vaguer ‘benefits' or ‘interests,’ that may be enforced under


7
 Discussion of the second and third factors listed in Hobbs is problematic
without a specific identification of the provisions in the 2018 Farm Bill which
Plaintiff claims support a private right when violated. However, the first
factor is controlling in this case.
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the authority of [Section 1983].” Bernard v. Kansas Health Pol’y Auth., No.

09-1247, 2011 WL 768145, at *7 (D. Kan. Feb. 28, 2011) (quoting Gonzaga

Univ., 536 U.S. at 283, with its emphasis).

      Moreover, it is well accepted that Section 1983 does not allow an

individual to pursue a violation of federal criminal law. Lynch v. Bulman,

2007 WL 2993612, at *2 (10th Cir. 2007) (unpublished) (citing Newcomb v.

Ingle, 827 F.2d 675, 676, n.1] (10th Cir. 1987), and two unpublished Tenth

Circuit opinions). It makes little sense that a private right is granted by the

2018 Farm Bill that mostly, if not entirely, operates to redefine the

criminality of marijuana.

      That the required Congressional intent to create a private right is

absent is not altered by Section 10114 of Pub. Laws 115–334. That section

states:

      (a) RULE OF CONSTRUCTION.—Nothing in this title or an
      amendment made by this title prohibits the interstate commerce
      of hemp (as defined in section 297A of the Agricultural
      Marketing Act of 1946 (as added by section 10113)) or hemp
      products.

      (b) TRANSPORTATION OF HEMP AND HEMP PRODUCTS.—
      No State or Indian Tribe shall prohibit the transportation or
      shipment of hemp or hemp products produced in accordance
      with subtitle G of the Agricultural Marketing Act of 1946 (as
      added by section 10113) through the State or the territory of the
      Indian Tribe, as applicable.



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Pub. Law 115–334, Title X, § 10114. The section is not codified, but is an

appended note to 7 U.S.C. § 1639o. The section is directed to

governments, not at granting rights to a class of individuals. See Serna v.

Denver Police Dep't, No. 21-CV-00789-WJM-MEH, 2021 WL 6503753, at

*5 (D. Colo. June 9, 2021), report and recommendation adopted, No. 21-

CV-0789-WJM-MEH, 2021 WL 5768993 (D. Colo. Dec. 6, 2021) (finds that

Congress did not intend for the 2018 Farm Bill to provide a private right of

action).8

      Finally, Congress specifically contemplated a private right of action

and rejected it. The Conference Report for the legislation notes that the

House version of the bill proposed a private right of action to challenge

state regulation of interstate commerce. H.R. Conf. Rep. 115-1072, at 794.9

The Senate version did not contain that provision. Id. In resolving this

difference, “[t]he Conference substitute does not adopt the House

provision.” Id. (emphasis added). This Court should not “supply by

construction what Congress has clearly shown its intention to omit.” Carey

v. Donohue, 240 U.S. 430, 437 (1916).


8
 This is the only case we could find that directly addressed an alleged
private right under the 2018 Farm Bill.
9
 Available online at
https://www.govinfo.gov/content/pkg/CRPT-115hrpt1072/pdf/CRPT-
115hrpt1072.pdf (last visited July 7, 2022).
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      2.    This action should be stayed under the Pullman abstention
            doctrine if Plaintiff has succeeded in stating a claim.

      Plaintiff reasonably alleges that he has been threatened with

prosecution, under Kansas statutes, for his possession and sale of products

with Delta-8 THC. Cf. Am Cmplt, ¶¶ 51-53. Assuming Plaintiff has alleged a

plausible claim that a federal court has jurisdiction to decide, this action

should be stayed to allow the anticipated state prosecution to proceed.10

Pullman abstention is appropriate.

      The Pullman doctrine is a “narrow exception” to the federal
      courts’ general duty to decide cases and “is used only in
      exceptional circumstances.” Kan. Judicial Review v. Stout, 519
      F.3d 1107, 1119 (10th Cir. 2008) (citation omitted). The policy
      underlying Pullman abstention is that federal courts should
      avoid “premature constitutional adjudication,” Babbitt v. United
      Farm Workers Nat'l Union, 442 U.S. 289, 306 [ ] (1979) (citation
      omitted), and the risk of rendering advisory opinions, Moore v.
      Sims, 442 U.S. 415, 428[ ] (1979) (“[T]he Pullman concern [is]
      that a federal court will be forced to interpret state law without
      the benefit of state-court consideration and ... render[ ] the
      federal-court decision advisory and the litigation underlying it
      meaningless.”) (citation omitted). Pullman avoids “federal-court
      error in deciding state-law questions antecedent to federal
      constitutional issues,” by allowing for parties to adjudicate
      disputes involving “unsettled state-law issues” in state courts.
      Arizonans for Official English v. Arizona, 520 U.S. 43, 76 [ ]
      (1997).




 Younger abstention, which would otherwise be required, is not applicable
10

because a parallel state criminal proceeding is not yet pending. Sprint
Commc'ns, Inc. v. Jacobs, 571 U.S. 69, 72 (2013).
                                       14
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Caldara v. City of Boulder, 955 F.3d 1175, 1178 (10th Cir. 2020), cert.

denied sub nom. Caldara v. City of Boulder, Colorado, 141 S. Ct. 849, 208

L. Ed. 2d 424 (2020). Pullman abstention is the postponement of

jurisdiction, not its abdication; When applicable, the federal proceedings are

stayed. See Am. Const. L. Found., Inc. v. Meyer, 113 F.3d 1245 (10th Cir.

1997).

      Courts list three requirements to abstention under Pullman:

      (1) an uncertain issue of state law underlies the federal
      constitutional claim; (2) the state issues are amenable to
      interpretation and such an interpretation obviates the need for
      or substantially narrows the scope of the constitutional claim;
      and (3) an incorrect decision of state law by the district court
      would hinder important state law policies.

Caldara, 955 F.3d at 1179.
      Integral to his claim, Plaintiff wants the Court to first interpret Kansas

statutes. E.g., Am Cmplt ¶ 3 (“This lawsuit also challenges Kansas’ law

enforcement authority … to enact prosecution policies that are contrary to

Kansas and federal laws”). The Court would reach the constitutional issue

under the Supremacy Clause only if it finds, as the AG opined, that

      Delta-8 THC comes within the definition of a Schedule I
      controlled substance and is unlawful to possess or sell in
      Kansas unless it is made from industrial hemp and is contained
      in a lawful hemp product having no more than 0.3% total
      tetrahydrocannabinols (THC). Unlawful hemp products include
      cigarettes, cigars, teas, and substances for use in vaping
      devices. Delta-8 THC derived from any source other than

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         industrial hemp is a Schedule I controlled substance and
         unlawful to possess or sell in Kansas. Other federal and state
         laws and regulations place additional limits on the legality of
         products containing THC and other cannabinoids

2021 WL 6013969, *4. But Plaintiff says possession and sale of hemp

derived products with any amount of Delta-8 is not illegal under Kanas

statutes, if properly interpreted, even without application of federal

preemption rules. Am Cmplt ¶¶ 48b & 48c.

         The Kansas statutes in play have not been interpreted by Kansas

courts. There is no theoretical conflict with the 2018 Farm Bill, if Plaintiff’s

interpretation of the statutes is accepted. No federal constitutional issue or

claim would be reached. Plaintiff can present his reading of the Kansas

statutes in his defense at a state prosecution [and also his preemption

claim if he has misunderstood the Kansas statutes]. And Kansas has an

important interest in prosecuting violations of its criminal statutes which is

subject to interference if the unsettled state law is interpreted by a federal

court.

         Certification of state law questions to the Kansas Supreme Court11

can be a viable alternative to the use of Pullman abstention. See Kansas

Judicial Review v. Stout, 519 F.3d 1107, 1119 (10th Cir. 2008). Yet, in this

case, there are at least two reasons abstention is the better alternative if


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     K.S.A. § 60-3201.
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Plaintiff has stated a claim. First, threshold issues of proof in a criminal

prosecution will be resolved in a state district court proceeding, which

cannot be reached by the Kansas Supreme Court (or even this Court). Do

Plaintiff’s hemp products have a Delta-9 THC concentration of not more

than 0.3 percent on a dry weight basis? On the other end of the spectrum,

will law enforcement’s tests show Plaintiff’s products have Delta-8

concentrations of not more than 0.3 percent? Second, if state prosecution is

initiated, dismissal of this case under Younger abstention is required and

appropriate for all of the reasons that justify the Younger abstention

doctrine.

                                  Conclusion

      Therefore, the Defendants request that the Court enter an order

dismissing this case or, alternatively, staying the proceedings under the

Pullman doctrine.

                                     Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      I certify that on July 8, 2022, a copy of the foregoing Memorandum in

Support of Motion to Dismiss or Stay was filed and served via the Court’s

electronic filing system on all counsel of record.

                                    s/ Arthur S. Chalmers




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